Case 2:03-cr-20083-STA Document 117 Filed 08/16/05 Page 1 of 2 Page|D 125 `

Fn.e'o sr __YQ§C“/D_(;,
IN THE UNITED sTATES DISTRICT COURT
FoR THE WESTERN DISTRICT oF TENNESSEEJS AUG l 6 AN |l= 28

  
 

 

WESTERN DIVIsIoN
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UNITED sTATEs oF AMERICA, W/@ ‘l»“ iii '**“PHS

Plaimiff,
v. No. 03-20083-13
MARLO PRIDE,

Defendant.

0RDER OF REFERENCE

 

Before the court is Defendant’s Motion to Have Defendant Declared Indigent filed on
August 4, 2005.

This motion is referred to the United States Magistrate Judge for determination and
appointment of counsel if necessary. Any objections to the magistrate judge's order shall be made
within ten (10) days after service of the order, setting forth particularly those portions of the order
objected to and the reasons for the objections

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IT IS SO ORDERED this &:: day of August, 2005.

/M

q F.DANIEL BREEN
D STATES DISTRICT JUDGE

 

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DISTRIC COURT - WESTERN D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 117 in
case 2:03-CR-20083 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

